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                UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF ARKANSAS
                    FORT SMITH DIVISION


REBECKA VIRDEN, et al                                                       PLAINTIFFS

              v.                          Case No. 2:23-cv-02071-PKH

CRAWFORD COUNTY, ARKANSAS, et al,                                        DEFENDANTS


         BRIEF IN SUPPORT OF PLAINTIFF’S
MOTION TO UPDATE AND CORRECT LISTED DEFENDANTS

              COMES NOW, Plaintiﬀs, by and through their attorneys,

Terrence Cain and Brian Meadors, and state:

       1. Fed. R. Civ. Proc. 15(a) allows amendment of a complaint “as a matter

   of course” within 21 days of service. In this case, the complaint has not yet

   been formally served.

       2. Fed. R. Civ. Proc. 21 allows parties to be added and removed with the

   Court’s permission.

       3. In this case, allowing the changes does not prejudice the as-yet

   unserved Defendants and promotes justice by ensuring the proper oﬃcials

   are named in the suit.

       WHEREFORE, Plaintiﬀs pray that the Court: order the parties to be

added and joined as discussed in the accompanying motion; allow the filing of

Virden, et al. v. Crawford County, et al.—Brief Supporting Mot’n to Update and Correct, p. 1 of 2
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an amended complaint reflecting those changes; and such other relief as

allowed by law.

       Respectfully submitted,

  /s/ Terrence Cain                               /s/ Brian Meadors

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